     Case 1:21-cv-00017-JPM Document 45 Filed 04/08/21 Page 1 of 1 PageID #: 453
                                 UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF LOUISIANA
                                     ALEXANDRIA DIVISION


SAMANTHA WILLIAMS                                          CASE NO. 1:21-CV-00017

VERSUS                                                     MAGISTRATE JUDGE PEREZ-MONTES

D'ARGENT FRANCHISING L L C ET AL


                                         NOTICE OF MOTION SETTING

        The Motion to Quash and Motion for Protective Order (Document No. 32) filed by D'Argent Companies L L
C, D'Argent Construction L L C, D'Argent Franchising L L C, Justin Giallonardo on March 11, 2021 has been
referred to Magistrate Judge Perez-Montes.

                                                      Deadlines

        Any response to said motion is due within twenty-one (21) days from date of this Notice in accordance with
LR 7.5. A reply to the response limited SOLELY to matters raised by the opposition may be filed within five (5)
days thereafter. Replies to responses are limited to 7 pages. Any party filing no brief will be deemed not to oppose
the motion. At the close of the briefing period, the record will be submitted to the Magistrate Judge for consideration.
A written ruling or recommendation will issue in due course.

                                                 No Oral Argument

        It is the policy of the Court to decide motions on the basis of the record without oral argument. Accordingly,
responses and briefs should fully address all pertinent issues. Should the Court feel oral argument is necessary, all
parties will be notified.

                                                   Courtesy Copies

       Counsel shall deliver a courtesy copy of the response briefs and any corresponding attachments to chambers
promptly after filing:

                             Hon. Joseph H. L. Perez-Montes
                             United States Magistrate Judge
                             U. S. Court House and Post Office Building
                             Room 331
                             515 Murray St.
                             Alexandria, Louisiana 71301

Magistrate Judge Perez-Montes requires courtesy copies only when the filing and attachments exceed 50 pages.
Copies should be bound and indexed as the situation may demand and should be delivered by mail or courier to
chambers at the address indicated above. Please do not send courtesy copies by fax or email.

ALL DEADLINES SET FORTH IN THE SCHEDULING ORDER SHALL REMAIN IN PLACE UNLESS
OTHERWISE ORDERED BY THIS COURT.

If the parties resolve any matters raised in the motion, the moving party should immediately notify chambers at (318)
473-7510.

DATE OF NOTICE: April 8, 2021

                                                TONY R. MOORE
                                                CLERK OF COURT
